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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
                                  ----------

UNITED STATES OF AMERICA,

                     Plaintiff,                         No. 1:05-CR-20

              vs.                                       Hon. Gordon J. Quist
                                                        U.S. District Court Judge
LIONEL BEARD, ET AL.,

                 Defendants.
_____________________________/

 REQUEST TO PERMIT FIREARM TO ENTER THE COURTHOUSE AND TO
     BE STORED OVERNIGHT PENDING CONCLUSION OF TRIAL

       Now comes the United States of America, through its attorneys, Margaret M.

Chiara, United States Attorney for the Western District of Michigan, and Mark V.

Courtade and Nils R. Kessler, Assistant United States Attorneys, and states as follows:

       1.     The case of United States v. Lionel Beard, et al., Case No. 1:05-CR-20, is

currently scheduled for trial before the Honorable Gordon J. Quist on January 31, 2006,

and the government anticipates putting into evidence firearms, to-wit:

       •      an FMJ, .45 caliber, single-shot derringer, model D
       •      a CZ 7.65 millimeter semiautomatic handgun, model 27
       •      a Smith & Wesson .38 caliber revolver, model 10-7
       •      a Bryco Arms 9mm semiautomatic handgun, model Jennings Nine
       •      a 9 mm Smith & Wesson semiautomatic handgun
       •      a H & K .40 caliber semiautomatic handgun, model USB
       •      a Smith and Wesson .38 caliber revolver
       •      a Browning .25 caliber semiautomatic handgun
       •      a Hi-Point 9 mm semiautomatic rifle bearing serial number B44950
       •      a Remington 12 gauge shotgun
       •      a Marlin .45 caliber semi-automatic rifle
       •      a Hi-Point 9 mm semiautomatic rifle bearing serial number A75349
       •      a Norinco 7.62 x 39mm semiautomatic SKS rifle

       2.     Administrative Order Number 96-012 issued by Chief Judge Richard Alan

Enslen requires the government to obtain a court order to permit firearms into the

courthouse during trial and to be stored by the United States Marshal’s Service until
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conclusion of the trial.

       3.     The government anticipates admitting into evidence the firearms referenced

to in paragraph 1 as Exhibits on or about January 31, 2006.

       4.     The referenced firearms are currently in the possession of agents of the

Bureau of Alcohol, Tobacco and Firearms.

       Wherefore the government requests this Honorable Court to grant an order

admitting the aforementioned firearms into the courthouse by Special Agents of the

Bureau of Alcohol, Tobacco and Firearms until conclusion of this trial.


                                          Requested Submitted,

                                          MARGARET M. CHIARA
                                          United States Attorney



Dated: January 27, 2006                       /s/            Mark V. Courtade
                                          MARK V. COURTADE
                                          NILS R. KESSLER
                                          Assistant United States Attorneys
                                          P.O. Box 208
                                          Grand Rapids, Michigan 49501-0208
                                          (616) 456-2404



       IT IS SO ORDERED.



D ated: _____________________
         January 31, 2006                 _____________________________________
                                           s/Gordon J. Quist
                                          GORDON J. QUIST
                                          United States District Judge
